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United States v. Nadine Menendez, et al., S4 23 Cr. 490 (SHS) – Proposed Colloquy for
Curcio Hearing

   •   Good afternoon. Please state your full name.

   •   Do you speak and understand English fluently?

   •   How old are you?

   •   What is your highest level of education?

   •   Where did you receive that education?

   •   In the past 24 hours, have you taken any pills, drugs, or medication of any kind that
       would affect your ability to hear or understand this proceeding?

   •   In the past 24 hours, have you had any alcoholic beverages?

   •   Have you ever been treated or hospitalized for any mental illness, or alcohol or substance
       abuse?

   •   Are you now, or have you recently been, under the care of a doctor or psychiatrist?

   •   Do you feel alert, awake, and clear-headed today?

   •   Defense counsel, do you have any doubt about Ms. Menendez’s competence to proceed
       today with this Curcio hearing?

   •   Ms. Menendez, you are currently represented by Mr. Schertler, along with others from
       his law firm, Schertler Onorato Mead & Sears LLP, correct?

   •   Are you satisfied with their representation?

   •   An issue has arisen as to whether or not there is a conflict of interest or other potential
       problem with respect to Mr. Schertler and his firm in continuing to represent you, based
       on Mr. Schertler’s personal knowledge of certain facts that the Government has alleged
       are relevant to this case.

   •   Now I want to be clear: I have not made any conclusions that Mr. Schertler or his law
       firm, have any actual conflict of interest, or whether any other problem may arise from
       their representation, but you have a right to conflict-free counsel, and I need to make sure
       that you understand what the potential conflict or other issues are. It is up to you to
       decide whether or not, in light of the potential risks posed by their serving as your
       counsel, you wish to continue with them as your lawyers or whether you want to find
       new lawyers. And while I intend to reference Mr. Schertler specifically in the remainder
       of my questions, you should know that it is possible that the risks posed by his serving as
       your counsel may extend to their law firm as a whole, including any other counsel who
       are also representing you or may represent you from the same firm. Do you understand
       that?
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   •   The purpose of this proceeding is for me to describe to you what this possible conflict is,
       and other risks, to make sure you understand them, and then for you to determine whether
       or not you want to go forward with Mr. Schertler as your lawyer. Do you understand the
       purpose of this proceeding?

   •   As I go through these questions, I will offer you the opportunity to speak with another
       lawyer, not from their law firm, about the potential conflict or other risks, to the extent
       you have not already done so. You do not have to talk to another lawyer, but that is
       available to you. Do you understand that?

   •   You may also retain another lawyer, not from their law firm, to confer with about the
       issues we’ll be discussing today. And you may do so while also continuing to be
       represented by Mr. Schertler. Do you understand that?

   •   Do you also understand that, if you cannot afford counsel at any point during this case,
       one can be appointed for you, at no cost to you?

   •   Have you retained another lawyer, not from the Schertler Onorato law firm, regarding the
       potential conflict or other risks?

   •   Let me also note that if you would like to take a break at any point during this
       proceeding, to consider what I have said, or to talk with your lawyers, just let me know.
       Do you understand that?

   •   I am now going to describe the potential risks in proceeding with Mr. Schertler, and ask
       you some questions to ensure that you understand them.

Duties of Loyalty and Confidentiality

   •   In the United States, an attorney has to represent his or her client to the best of his or her
       ability. This obligation of that attorney is 100 percent to that client. Do you understand
       that?

   •   An attorney has a duty of loyalty to that client, not to anybody else, regardless of who
       may be paying the attorney’s bills, and regardless of the nature of the proceeding. Do
       you understand that?

   •   An attorney also has a duty of confidentiality. Anything you tell your attorneys, as long
       as it’s done in the context of his or her representation of you and in the context of you
       seeking legal advice, is confidential. Your attorney cannot tell anyone else about what
       you have been telling them, and they cannot use anything you have been telling them in
       any way without your consent, except in certain very limited circumstances. Do you
       understand that?

   •   So, in this matter, Mr. Schertler, Mr. Onorato, and Ms. Pinto have both a duty of loyalty
       to you, and only you, and a duty of confidentiality that arises out of their representation of
       you. Do you understand that?

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Attorney’s Personal Knowledge of Certain Facts

   •   As I understand it, Mr. Schertler has personal knowledge of certain facts alleged to be
       relevant to the charges here. Mr. Schertler’s knowledge arises from his representation of
       you in this investigation. Do you understand that?

   •   Others at Mr. Schertler’s law firm, including Danny Onorato and Paola Pinto, who also
       represent you, may similarly have personal knowledge of the same facts or have
       discussed them with Mr. Schertler at the time he learned them. Do you understand that?

   •   In short, Mr. Schertler, at least according to the Government, is a potential witness in this
       case. The Government believes that Mr. Schertler participated in, among other things,
       relevant conversations with you and counsel for your co-defendants Robert Menendez
       and Wael Hana. These concern, among other things, the following topics: (1)
       communications you had with Mr. Schertler regarding the nature and purpose of the
       payments co-defendant Jose Uribe made for a Mercedes Benz Convertible, (2)
       communications you had with Mr. Schertler regarding the nature and purpose of the
       payments co-defendant Wael Hana made for a payment towards the mortgage on your
       home, (3) communications you had with Mr. Schertler regarding repaying Mr. Uribe for
       the payments towards the Mercedes Benz Convertible, and the purpose of that repayment,
       (4) communications you had with Mr. Schertler regarding repaying Mr. Hana for the
       payment towards the mortgage on your home, (5) communications you had with Mr.
       Schertler regarding a presentation he made to the United States Attorney’s Office on
       August 11, 2023, the purpose of that presentation, your review of the presentation before
       it was made, and your approval for him making that presentation, and (6)
       communications Mr. Schertler had with counsel for co-defendants Robert Menendez,
       Wael Hana, and Jose Uribe regarding those same topics. Do you understand that?

   •   There is at least a chance that Mr. Onorato and Ms. Pinto are also a potential witness as to
       the same facts that Mr. Schertler is. Do you understand that?

   •   Now I am not taking a position on the facts, or what evidence is admissible, or whether
       either Mr. Schertler, Mr. Onorato or Ms. Pinto could be a witness, but it is important that
       you understand that the fact that Mr. Schertler is a potential witness, and that Mr. Onorato
       or Ms. Pinto may be, presents multiple risks to you. Do you understand that?

   •   Without telling me what they have told you, have you talked about this issue with Mr.
       Schertler, Mr. Onorato, and Ms. Pinto?

   •   Have you previously talked with a lawyer not affiliated with the Schertler Onorato law
       firm about this issue?

   •   As I mentioned earlier, if you would like, I will appoint an independent lawyer to talk
       with you about this issue. Would you like me to do so?

   •   There are at least two risks to you from one or more of your counsel being a potential
       witness. First, neither counsel, nor anyone else from their firm, can make arguments to
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    me or the jury that are not consistent with their personal knowledge of the facts. In short,
    if they know something to be true, neither them nor others from their firm can argue to
    me that it is false. Do you understand that?

•   They also cannot question other witnesses in a manner suggesting that a fact that they
    personally know is true is false. Do you understand that?

•   In short, this could affect the advice you receive, arguments that your lawyers make, or
    their questioning of witnesses. Do you understand that?

•   The second risk to Mr. Schertler, Mr. Onorato, or Ms. Pinto being a potential witness is
    that he or she might in fact be called as a witness by the Government. Now again, I am
    not making any decision today about what would happen if that were to occur, but it is
    important for you to understand that if the Government were to call one or more than one
    of them as a witness, there is at least the possibility that might mean that one or more
    than one of them would have to withdraw as your counsel. Do you understand that?

•   Put differently, generally, a lawyer cannot serve as both a lawyer and testify as a witness.
    Do you understand that?

•   It is also important for you to understand that no one can predict with certainty right now
    whether the Government will decide to call Mr. Schertler, Mr. Onorato, or Ms. Pinto as a
    witness. That decision will be made closer to trial—yet I expect you to be ready to
    proceed to trial on May 6, even if you decide to change counsel. By continuing with
    Mr. Schertler and his law firm, you are therefore taking on the risk that you will lose one
    or more of your attorneys, or their law firm, closer to trial. Do you understand that?

•   It is also possible that the fact that Mr. Schertler is a potential witness might affect his
    advice to you, and the same for Mr. Onorato and Ms. Pinto, or the advice of their
    colleagues, because they may prefer not to be a witness. Do you understand that?

•   Similarly, if you may prefer that they not be a witness, it could affect your ability to
    follow their advice or to make certain decisions. Do you understand that?

•   Relatedly, even if Mr. Schertler, Mr. Onorato, and Ms. Pinto are not called as witnesses it
    is possible that other witnesses may be aware that either was personally involved in or
    has knowledge of certain facts, and that may create challenges for them or others to
    cross-examine those witnesses, which would not be an issue with a different lawyer who
    had no personal knowledge of the facts. Do you understand that?

•   Although I am not making any decision today or attempting to predict the future, it is
    possible that in light of what other witnesses know or say, or what certain documents
    show, Mr. Schertler, Mr. Onorato, or Ms. Pinto might have to withdraw as counsel even
    if they were not themselves actually testifying witnesses. Do you understand that?



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•   As I said earlier, because it is so important, and neither I nor anyone else can foresee all
    the ways in which that potential conflict or other issue may arise, I want to make sure that
    you fully understand the risks to you. So, can you explain in your own words what you
    understand the potential conflict to be concerning Mr. Schertler, Mr. Onorato, or
    Ms. Pinto being a potential witness, and how it could affect your defense?

•   If you do decide that you want them to continue to represent you in this case, you cannot
    in the future argue that they did not adequately represent you because they had the
    potential conflict I have described. Do you understand that?

•   In addition, as I have said, I expect you and your co-defendants to be prepared to proceed
    to trial on May 6, 2024. That means that if Mr. Schertler, Mr. Onorato, or Ms. Pinto has
    to withdraw, even if close to trial, there is no guarantee that the trial will be adjourned.
    Do you understand that?

•   If your current counsel were to withdraw, any new counsel may have less time to prepare
    for trial. Do you understand that?

•   Although I am using the word “withdraw,” there is the possibility that I may order them
    to do so, that is, the decision is not solely theirs to make. I am not at all saying that I will
    do that, but I want you to understand that there is a possibility that the Government or
    another party may ask me to make a decision as to whether Mr. Schertler, Mr. Onorato,
    and/or Ms. Pinto may continue to represent you, and even if they or you object, I may
    have to decide that they cannot continue to represent you, or that their law firm as a
    whole cannot. Do you understand that?

•   Is there anything that I’ve said to you or that I brought up that you wish to have explained
    further, or that you have any question about?

•   In light of everything I have said, do you wish to have Mr. Schertler, Mr. Onorato, and
    Ms. Pinto continue to represent you in connection with the charges against you in this
    case?

•   It is your own decision?

•   Have you had sufficient time to think about it?

•   Have you received any threat, inducement, payment, or other promise that may have
    influenced your decision on this issue?

•   Do you understand that, with respect to Mr. Schertler, Mr. Onorato, or Ms. Pinto being a
    potential witness, we may have to revisit this issue before trial, that is, your decision to
    continue to proceed with them today does not necessarily mean that they can be your
    counsel for trial?




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